                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:09-cr-00039
                                                     )
 UNITED STATES OF AMERICA                            )
                                                     )
         vs.                                         )                   ORDER
                                                     )
 JASON CAMPBELL                                      )
                                                     )

        THE MATTER is before the Court, sua sponte, upon the pro se filing of Defendant's Notice

of Appeal (Doc. No. 569), on April 18, 2011. The Court entered Judgment (Doc. No. 437) in

Defendant’s case on August 30, 2010, approximately 231 days prior to Defendant’s filing Notice

of Appeal. At the time Judgment was entered, Federal Rule of Appellate Procedure 4(b) allowed

Defendant fourteen days within which to note his appeal. Fed. R. App. P. 4(b)(1)(A). Because the

Notice was untimely filed, the Court construes the document, filed pro se, as also containing a

motion to extend the deadline for filing the Notice of Appeal.

        A district court may extend the time for filing a notice of appeal upon a finding of excusable

neglect or good cause. Fed. R. App. P. 4(b)(4). However, such a motion must be made within thirty

days of the expiration of the time otherwise provided by Rule 4. Here, the Court does not have

authority to extend the deadline for filing a notice of appeal because the defendant did not file his

motion in the time required by Rule 4, which expired on or about October 13, 2010. United States

v. Schuchardt, 685 F.2d 901, 902 (4th Cir.1982) (compliance with Fed. R. App. P. 4(b) is

mandatory). Even if counsel failed to respond to the defendant or file a timely notice of appeal

when directed to do so, extending the direct appeal deadline would not be the appropriate remedy.

United States v. Reyes, 759 F.2d 351, 353 (4th Cir.1985) (§ 2255 action is appropriate remedy for

failure to file timely notice of appeal).



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       IT IS THEREFORE ORDERED that Defendant’s Motion for an Extension of Time is

DENIED.

       THE CLERK is directed to serve this Order on counsel for the Government; Defendant Jason

Campbell c22693-058, Federal Correctional Institution (Beckley), P.O. Box 350, Beaver, West

Virginia, 25813; and Defendant’s trial counsel, Mr. Richard L. Brown, Jr., Law Offices of Richard

L. Brown, Jr., 309 Lancaster Avenue, Monroe, North Carolina 28112.

       IT IS SO ORDERED.
                                               Signed: April 21, 2011




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